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NEM:KCB

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA REMOVAL TO THE
SOUTHERN DISTRICT

- against - OF TEXAS

(Fed. R. Crim. P. 5)

DIVARIS FRANCISCO QUIJADA, .
Case No. 25-MJ-227

Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

Keval Patel, being duly sworn, deposes and states that he is a Special Agent with
the United States Department of Homeland Security, Homeland Security Investigations, duly
appointed according to law and acting as such.

On or about March 11, 2025, the United States District Court for the Southern
District of Texas issued an arrest warrant commanding the arrest of DIVARIS FRANCISCO
QUIJADA for improper entry by an alien, in violation of Title 8, United States Code, Section
1325(a)(1).

The source of your deponent’s information and the grounds for his belief are as
follows:!

l. On or about March 11, 2025, the Honorable Ignacio Torteya, United States
Magistrate Judge for the United States District Court for the Southern District of Texas, signed a

criminal complaint (the “Complaint”) charging the defendant DIVARIS FRANCISCO QUIJADA

I Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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with violating Title 8, United States Code, Section 1325(a)(1) (Improper Entry by Alien). A true
and correct copy of the Complaint is attached as Exhibit A.

2. In connection with the Complaint, on or about March 11, 2025, the United
States District Court for the Southern District of Texas issued a warrant for the arrest of the
defendant DIVARIS FRANCISCO QUIJADA (the “Warrant”). A true and correct copy of the
Warrant is attached as Exhibit B.

3. On or about July 2, 2025, the defendant DIVARIS FRANCISCO QUIJADA
was arrested by law enforcement pursuant to the Warrant at his residence in Queens, New York.

4, At the time of his arrest on July 2, 2025, the defendant DIVARIS
FRANCISCO QUIJADA had at his residence a photocopy of a Venezuelan passport, which listed
the same name and date of birth as the DIVARIS FRANCISCO QUIJADA who is wanted in the
Southern District of Texas. Also at the time of his arrest on July 2, 2025, the defendant had at his
residence a health insurance card which also listed his name. At the time of his arrest on July 2,
2025, the defendant also provided law enforcement the same name as the DIVARIS FRANCISCO
QUIJADA who is wanted in the Southern District of Texas. Other individuals at the defendant’s
residence identified a photograph of the DIVARIS FRANCISCO QUIJADA who is wanted in the
Southern District of Texas as living within the residence. Finally, I have confirmed that the
defendant matches the appearance of a photograph of the DIVARIS FRANCISCO QUIJADA who
is wanted in the Southern District of Texas.

5. Based on the foregoing, I submit that there is probable cause to believe that
the defendant is the DIVARIS FRANCISCO QUIJADA who is wanted in the Southern District of

Texas.
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WHEREFORE, your deponent respectfully requests that the defendant DIVARIS
FRANCISCO QUIJADA be removed to the Southern District of Texas so that he may be dealt

with according to law.

Keval Patel

Special Agent, United States Department of
Homeland Security, Homeland Security
Investigations

Sworn to before me this
“Dday of July, 2025

THE HONORABLE VERA M. SCANLON
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK

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EXHIBIT A
Case 1:25-mj-00227-VMS Document1 Filed 07/02/25 Page 5of 7 PagelD#:5
Case 1:25-po-00547 Document1 Filed on 03/11/25in TXSD Page1lof1

AO 91 (Rev. 11/11) Criminal Complaint United States Courts
UNITED STATES DISTRICT COURT Southern District of Texas
for the FILED
Southern District of Texas March 11, 2025
United States of America ) Nathan Ochsner, Clerk of Court
)
Vv. ) Case No. 1:25-PO-547

)

Divaris Francisco QUJADA )
Defendant(s) )

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 12/13/2023 in the county of Cameron in the Southern District of Texas, the defendant(s) violated:

Code Section Offense Description
Title 8, United States Code, Section 1325(a)(1) knowingly and willfuly enter the United States at a time and place
other than as designated by Immigration Officers, he/she being an
alien in the United States having been convicted of illegal entry under
Title 8, United States Code, Section 1325(a)(1), a misdemeanor,

This criminal complaint is based on these facts:

On or about December 13, 2023, the defendant, Divaris Francisco QUIJADA, an alien who is a native and citizen of Venezuela,
entered the United States illegally from the Republic of Mexico by crossing the Rio Grande River and was apprehended by
United States Border Patrol Agent Daniel Skaines at a time and place other than as designated by Immigration Officers near
Brownsville, Texas. At the Rio Grande Valley Sector Centralized Proccessing Center QUIJADA was asked to make a Sworn
Statement by Border Patrol Agent Matrin Gody as part of the Expedited Removal Proceedings. Service Form I-867 A/B was
read and explained to QUIJADA. QUIJADA admitted to being a citizen and national of VENEZUELA without the necessary
legal documents to enter, pass through, or remain in the United States. QUIJADA also admitted to illegally crossing the
international boundary without being inspected by an Immigration Officer at a designated Port of Entry. QUIJADA was
processed for Expedited Removal - Credible Fear Referral and released pending credible fear referral decision.

C] Continued on the attached sheet. Lom

Complainant's Signature

Jaime Gonzalez Special Agent

"CY" title
Submitted by reliable electronic means, sworn to and signature attested

as per Fed. Rules Cr, Proc. 4.1
March 11, 2025

Date pe
Brownsville, Texas Ignacio Torteya ¥ U.S. Magistrate Judge

City and State : Printed name and title
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EXHIBIT B
Case 1:25-mj-00227-VMS Document1 Filed 07/02/25 Page 7 of 7 PagelD #: 7

AO 442 (Rev. 11/11) Amest Warrant Flot HIVISSG
UNITED STATES DISTRICT COURT

for the

Southern District of Texas

United States of America
Vv.

Divaris Francisco QUIJADA CaseNo, _—*1:25-PO-547

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

{name of person to be arrested) _Divaris Francisca QUIJADA ’
who is accused of an offense or violation based on the following document filed with the court:

C) Indictment © Superseding Indictment O) Information © Superseding Information wo Complaint
© Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

On or about December 13, 2023, the defendant, Divaris Francisco QUIJADA, an alien who is a native and citizen of
Venezuela, entered the United States illegally from the Republic of Mexico by crossing the Rio Grande River and was
apprehended by United States Border Patrol Agent Daniel Skaines at a time and place other than as designated by
Immigration Officers near Brownsville, Texas.

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D i LO =

City and state: Brownsville, Texas U.S. MagYstrate Judge Ignacio Torteya, Til

Printed name and title

¥ ss
issuing officer's signature

Return

This warrant was received on (date) , and the person was arrested on (date)
at (city and state)

Date:

Arresting officer's signature

Printed name and title

